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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO

  BITCO GENERAL INSURANCE
  CORPORATION,
                                                      Case No. CV4:20-cv-445
            Plaintiff,
                                                      COMPLAINT AND DEMAND FOR
  vs.                                                 JURY TRIAL

  ROCKIN’ T CONSTRUCTION, INC., and
  DAVID L. MCGUIRE, as Trustee of the
  DAVID MCGUIRE LIVING TRUST 2011,

            Defendants.



               Comes now BITCO GENERAL INSURANCE CORPORATION, by and

through its counsel of record, the law firm of Perkins, Mitchell, Pope & McAllister LLP,

and complains and alleges as follows:

                            I.    Parties, Jurisdiction, and Venue

              1.         Bitco General Insurance Corporation (“BITCO”) is and at all relevant

times was an Illinois corporation with its principal place of business in Iowa, and duly

authorized to transact the business of insurance in the State of Idaho.



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               2.    Defendant Rockin’ T Construction, Inc. (“Rockin’ T”) is and at all

relevant times was a corporation organized under the laws of the State of Idaho.

               3.    Defendant David L. McGuire; as Trustee of the David McGuire Living

Trust dated May 16, 2011 (herein after McGuire), is a resident of the State of California

and is the record owner of real property located in Bonneville County, Idaho, commonly

known as 113 Raven Road, Irwin, Idaho (“Irwin Property”).

               4.    The Court has jurisdiction over this claim pursuant to 28 U.S.C.

Section 1332, as the parties are diverse in citizenship and the amount in controversy

exceeds $75,000.

               5.    This Court also has jurisdiction of this claim and is authorized to grant

Declaratory Judgment under the Declaratory Judgment Act, 28 U.S.C. Section 2201,

implemented through Rule 57 of the Federal Rules of Civil Procedure, and pursuant to

Idaho Code Section 5-514, in that BITCO contracted to insure Rockin’ T within the State

of Idaho.

                               II.     Statement of Facts

               6.    BITCO issued a commercial general liability policy to Rockin’ T under

Policy Number CLP 3 668 074 B for the Policy Period of May 1, 2018 to May 1, 2019 (“the

CGL Policy”). A true and accurate copy of the CGL Policy is attached hereto as Exhibit

“A”.

               7.    BITCO also issued a commercial umbrella liability policy to Rockin’

T under Policy Number CUP 2 815 700 B for the Policy Period of May 1, 2018 to May 1,

2019 (“the Umbrella Policy”). A true and accurate copy of the Umbrella Policy is attached

hereto as Exhibit “B”.



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              8.     The CGL Policy and the Umbrella Policy issued by BITCO provided

insurance coverage for Rockin’ T under certain terms, conditions, definitions, exclusions,

and limits.

              9.     The CGL Policy provides, in part, that it will pay those sums that the

insured becomes legally obligated to pay as damages because of “bodily injury” or

“property damage” or “personal and advertising injury” to which the insurance applies, but

that it would have no duty to defend the insured against any suit seeking damages for

“bodily injury” or “property damage” or “personal and advertising injury” to which the

insurance does not apply.

              10.    The Umbrella Policy provides, in part, that it will pay the “ultimate net

loss” in excess of the “retained limit” that the insured becomes legally obligated to pay as

damages because of “bodily injury” or “property damage” or “personal and advertising

injury” to which the insurance applies, but that it would have no duty to defend the insured

against any suit seeking damages for “bodily injury” or “property damage” or “personal

and advertising injury” to which the insurance does not apply.

              11.    On or about March 6, 2020, McGuire filed a Counterclaim against

Rockin’ T in the District Court of the Seventh Judicial District of the State of Idaho, in and

for the County of Bonneville, Case No. CV10-20-0544 (“the Counterclaim”), arising out of

a contract between McGuire and Rockin’ T and work performed by Rockin’ T on the Irwin

Property. A true and accurate copy of the Counterclaim is attached hereto as Exhibit “C”.

              12.    The Counterclaim alleges that, on or about March 25, 2019, McGuire

and Rockin’ T entered into a written fixed price contract for improvements to the Irwin




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Property, including, but not limited to, construction of a pond, water feature, beach, dock,

well, entry gate, driveway, and septic drain field.

                13.   The Counterclaim alleges that Rockin’ T commenced work as agreed

and performed a portion of the work but failed to complete the full project as specified in

the contract.

                14.   The Counterclaim alleges causes of action for (1) breach of contract,

(2) construction defect, (3) negligence, (4) violation of the Idaho Consumer Protection

Act, (5) quiet title, and (6) slander of title, and seeks an award of attorney fees.

                       CLAIM FOR DECLARATORY JUDGMENT

                15.   Paragraphs 1 – 14 are incorporated by reference as if set forth in full.

                16.   Rockin’ T has demanded under Claim No. 663005 that BITCO

defend McGuire’s action for damage against Rockin’ T and pay any judgment that may

be rendered therein within policy limits. BITCO agreed to defend the action subject to a

reservation of rights pending resolution of the coverage issues.

                17.   Any and all defense and indemnity obligations inuring to the benefit

of Rockin’ T are subject to the terms, conditions, definitions, limits, and exclusions set

forth in BITCO’s CGL and Umbrella Policies, including, without limitation, the fact that the

claims of McGuire are not covered under the Policies’ Insuring Agreements, and

exclusions for claims where the claim arises out of (1) contractual liability; (2) damage to

Rockin’ T’s work; (3) damage to property on which Rockin’ T was working because its

work was incorrectly performed; (4) damage to Rockin’ T’s product; (5) damage claimed

for loss of use of Rockin’ T’s product, work, or impaired property; (6) personal and

advertising injury unless covered under Coverage B–Personal and Advertising Liability


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Coverage; (7) a knowing violation of rights of another; (8) damages caused by material

published with knowledge of its falsity; (9) damages caused by breach of contract; (10)

damages caused by deficits of quality or performance of Rockin’ T’s contract; (11)

personal and advertising injury arising out of the wrong description of prices; (12) violation

of a consumer protection act; (13) construction management errors and omissions; and

(14) damages arising out of the rendering of or failure to render professional services.

              18.    BITCO’s CGL and Umbrella Policies do not provide insurance

coverage for some or all of the allegations made against Rockin’ T (or any other party)

arising out of or relating to the Counterclaim.

              19.    BITCO has no duty to indemnify and no obligation to make payment

for all or some of the allegations made against Rockin’ T (or any other party) arising out

of or relating to the Counterclaim. To the extent that no claims or allegations are covered

under the BITCO CGL and Umbrella Policies, BITCO has no duty to defend Rockin’ T (or

any other party) in the Counterclaim.

              20.    An actual, real, and substantial controversy exists involving BITCO

and Rockin’ T and McGuire with respect to their conflicting claims and legal relations.

              21.    As a consequence of the controversy, BITCO has been obligated to

set up and maintain reserves for the alleged claims of McGuire and incur defense costs,

and, unless and until such controversy and the rights and legal relations to the parties are

judicially determined, adjudicated, and declared herein, BITCO will be obligated to

continue such reserves, and BITCO will continue to incur defense costs.




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              22.    Pursuant to 28 U.S.C. § 2201, BITCO is entitled to a determination

by the Court that there is no coverage under the CGL and Umbrella Policies for the claims

presented pursuant to Claim No. 663005.

                                   III.     Reservation

              The Counterclaim lawsuit is ongoing. BITCO expressly reserves all rights

to rely upon terms, conditions, definitions, and exclusions in the BITCO CGL and

Umbrella Policies not identified above in seeking its declaratory relief herein.

                                 IV.      Prayer for Relief

              Wherefore, BITCO General Insurance Corporation requests the following

relief:

              1.     A declaration by reason of the terms and conditions of the CGL and

Umbrella Policies and of the facts herein alleged that coverage is not afforded by the CGL

and Umbrella Policies issued and delivered by BITCO General Insurance Corporation to

Rockin’ T Construction, Inc., designated as the insured in the CGL and Umbrella Policies’

declarations, and that the Court declare that BITCO General Insurance Corporation does

not have a duty to defend Rockin’ T Construction, Inc. in the aforementioned

Counterclaim brought against it, and that BITCO General Insurance Corporation should

not have a duty to indemnify Rockin’ T Construction, Inc. or to pay any judgment found in

the action against Rockin’ T Construction, Inc. by David L. McGuire as Trustee of the

David L. McGuire Living Trust dated May 16, 2011 in the District Court of the Seventh

Judicial District of the State of Idaho, in and for the County of Bonneville, Case No. CV10-

20-0544, and further requests that BITCO General Insurance Corporation receive an

award of costs as is equitable and just.



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              2.     Such other and further relief as this Court deems just and equitable.

                                  V.     Jury Demand

              BITCO General Insurance Corporation demands a trial by not fewer than

twelve jurors as to all issues.

              DATED this 21st day of September, 2020.

                                          PERKINS, MITCHELL, POPE & MCALLISTER LLP


                                         By:/s/Richard L. Stubbs___________________
                                            Richard L. Stubbs, of the Firm
                                            Attorneys for Plaintiff




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